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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

INDICTMENT FOR COMPUTER FRAUD

UNITED STATES OF AMERICA * CRIMINAL DOCKET NO.
V. * SECTION: 0 5“ ® Z§
EDWIN E. BURKS * VIOLATION: 18 U.S.C. § 1030(3)(4)

* * ,, SECT. ll MAG. 2

The Grand Jury charges that:
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A. AT ALL TIMES MATERIAL HEREIN:

 

l. The defendant, EDWIN E. BURKS, Was an attorney licensed to practice law in the
State of Louisiana and the State of New York.

2. The defendant, EDWIN E. BURKS, was employed as an Assistant City Attorney
for the City of New Orleans, State of Louisiana, for approximately fifteen (15) years.

3. The defendant, EDWIN E. BURKS, was assigned to Section C of Traffic Court for

the City of New Orleans for the past eight (8) years.

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4. The defendant, as part of his sworn duties as an Assistant City Attomey, was
responsible for the prosecution of individuals who had been issued traffic summons (traffic
citations) within the City of New Orleans by various law enforcement agencies
B. COMPUTER FRAUD

From on or about March ll, 2004, and continuously thereafter until on or about April 8,
2004, in the Eastem District of Louisiana and elsewhere, EDWIN E. BURKS, defendant herein,
did knowingly and with intent to defraud, access a protected computer without authorization, or
by exceeding authorized access, and by means of such conduct furthered the intended fraud and
obtained something of value; to wit: the defendant did knowingly and intentionally accept

monetary bribes in exchange for agreeing to “Nolle Prosequi”, or not prosecute a Traft'ic Court

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case, affecting interstate commerce, when the defendant dismissed certain traffic citations,
thereby affecting the Driver Management Database, a protected computer utilized by the State of
Louisiana, Office of Motor Vehicles (OMV) in Baton Rouge, Louisiana; in violation of Title 18,
United States Code, Section 1030(a)(4).

A TRUE BILL:
M Foreperson /

    
 

N ASELLI MANN
irst Assistant United States Attomey
Chief, Criminal Division

Louisiana Bar Roll No. 900 V;`

ALBERT J. WIZ|` ERS, JR.
Senior Litigatioan ounsel
Louisiana Bar Roll No. 13606

A/'-` rL/\
BRIAN M. KLEBBA
Assistant United States Attomey

New Orleans, Louisiana
January 27, 2005

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